                                EXHIBIT 1
                            Proposed Order




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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


In re:                                                         Chapter 9

CITY OF DETROIT, MICHIGAN,                                     Case No. 13-53846

                   Debtor.                                     Hon. Steven W. Rhodes




   ORDER (I) APPROVING SETTLEMENT AND PLAN SUPPORT AGREEMENT
 WITH UBS AG AND MERRILL LYNCH CAPITAL SERVICES, INC. PURSUANT TO
      BANKRUPTCY RULE 9019 AND (II) GRANTING RELATED RELIEF

         This matter coming before the Court on the motion (the “Motion”) for entry of an order

(i) approving, pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), the terms of the City’s1 settlement and plan support agreement with UBS

AG (“UBS”) and Merrill Lynch Capital Services, Inc. (“MLCS” and, together with UBS and the

City, the “Parties”), as more fully set forth in the Motion, and (ii) granting related relief; and the

Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28

U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested therein being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided, and it appearing that no other or further notice need be provided; and the Court having

reviewed the Motion and any opposition thereto and statements submitted in connection

therewith; and upon the hearing held before the Court (the “Hearing”); and the Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish


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          Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in, as
applicable, the Motion or the Agreement (as defined below).




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just cause for the relief granted herein; and the Court having determined that the City was

authorized, but not required, to seek approval of the settlements set forth in the Agreement (as

defined below) pursuant to Bankruptcy Rule 9019; and the Court having determined that the

Agreement was negotiated at arm’s length and in good faith by the Parties and that the

Agreement is fair, equitable and reasonable; and the Court having determined that UBS and

MLCS are not “insiders” (as defined in the Bankruptcy Code) of the City; and upon all of the

proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor; it is

        1.        ORDERED that the Motion is granted in its entirety, and any objections to the

Motion not previously withdrawn, waived or settled, and all reservations of rights included

therein, are hereby overruled with prejudice; and it is further

        2.        ORDERED that the Motion seeking approval of the settlement and plan support

agreement substantially in the form filed in this case (the “Agreement”) is approved in its

entirety and all of its terms are incorporated herein by reference as if fully set forth herein, and

the failure to specifically describe or include in this Order any particular provision of the

Agreement shall not diminish or impair the effectiveness of any such provision; and it is further

        3.        ORDERED that the City is authorized to execute, deliver, implement and fully

perform any and all obligations, instruments, documents and papers, and to make all payments

(including interest and fees, if any), and take any and all actions reasonably necessary or

appropriate to consummate, complete, execute and implement the Agreement in accordance with

the terms and conditions thereof, and any actions taken heretofore in furtherance of these

obligations are hereby ratified; and it is further



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        4.      ORDERED that the manner in which notice of the Motion was provided to all

parties entitled to such notice was adequate, appropriate, reasonable and sufficient for all

purposes and is approved; and it is further

        5.      ORDERED that this Order (including the Agreement incorporated herein) is and

shall be binding on all parties in interest in the City’s chapter 9 case; and it is further

        6.      ORDERED that the settlements and compromises set forth in the Agreement are

fair and reasonable to, and in the best interests of, the City, its residents and its creditors, and in

entering into the Agreement, the Parties have acted in a commercially reasonable manner and

exercised their respective rights and powers, and used the same degree of care and skill in their

exercise, as a prudent person would exercise or use under the circumstances, and such

settlements and compromises are hereby approved; and it is further

        7.      ORDERED that, during the term of the Agreement and until the Net Amount (as

defined below) is paid in full in cash, the City shall (i) timely make the monthly Holdback

Requirement (as defined in the Collateral Agreement) payments in the manner provided by and

on the terms set forth under Section 5.2(a)(1) and (b) of the Collateral Agreement (the “Monthly

Payments”), and (ii) allow UBS and MLCS to timely receive the quarterly payments in an

amount equal to all Hedge Periodic Payables (as defined in the Collateral Agreement) required to

be paid to them in the manner provided by and on the terms set forth under Section 5.7(a)(i) of

the Collateral Agreement (the “Quarterly Payments”); provided, that for purposes of the

Agreement and this Order, neither (i) any subsequent termination or invalidation of any Swap

Agreement nor (ii) the subsequent occurrence of any Hedge Event (as defined Collateral

Agreement) will modify the amounts or timing of the City’s payment obligations under the

Agreement, this Order or the Collateral Agreement, and for such purposes all Monthly Payments
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and all Quarterly Payments shall be made in the manner provided by and in accordance with the

terms of the Collateral Agreement as if such Swap Agreement had not been terminated or

invalidated, or such Hedge Event had not occurred; and it is further

          8.    ORDERED that, during the term of the Agreement and so long as the City is not

in breach of the Agreement, UBS and MLCS shall (a) not seek to prevent the City from

obtaining payments from the General Receipts Subaccount (as defined in the Collateral

Agreement) and (b) except as set forth in the Agreement, use best efforts to take any action

reasonably requested by the City to reverse any action by the custodian under the Collateral

Agreement (the “Custodian”) to withhold or delay the payments to the City; and it is further

          9.    ORDERED that, in addition to constituting amounts paid and payable under and

pursuant to the Collateral Agreement, the Monthly Payments and the Quarterly Payments shall

be adequate protection payments pursuant to section 361 of the Bankruptcy Code to protect

against diminution of UBS’s and MLCS’s interest in the collateral (the “Pledged Property”)

pledged by the City under the Collateral Agreement and/or Ordinance No. 05-09 of the City; and

it is further

          10.   ORDERED that each of UBS and MLCS is hereby granted an allowed claim

(collectively, the “Secured Claims”) against the City secured by liens on the Pledged Property

(the “Liens”), which, solely for purposes of distributions from the City, shall be deemed to be in

the aggregate principal amount of $42,500,000.00 for each of UBS and MLCS plus any interest

as provided in the Agreement (together, the “Distribution Amount”), payable in cash; and it is

further

          11.   ORDERED that, except as reduced by payments as set forth herein or in the

Agreement, the Secured Claims and the Liens (i) are valid, binding, perfected and enforceable
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without further action by, or notice to, any party and (ii) shall not be subject to avoidance,

reduction, subordination, reconsideration, merger, recharacterization, consolidation, recoupment,

recovery, deduction, attack, offset, objection, defense, claim (as defined in the Bankruptcy Code)

or counterclaim under applicable provisions of the Bankruptcy Code or state law or in equity;

and shall not be subject to disallowance under any provision of the Bankruptcy Code, including

section 502(d) thereof; and it is further

        12.     ORDERED that, except in the case of a Liquidity Event (as defined in the

Agreement), on or promptly following the effective date of the City’s plan of adjustment (the

“Plan”), the City shall pay to UBS and MLCS in cash, in satisfaction and discharge of the

Secured Claims, the Distribution Amount less the sum of all Quarterly Payments received by

UBS and MLCS since January 1, 2014 (the “Net Amount”), and any Monthly Payments held by

the Custodian after such satisfaction and discharge shall be returned to the City; and it is further

        13.     ORDERED that the Secured Claims shall also be satisfied and discharged if, prior

to the effective date of the Plan or following dismissal of the City’s chapter 9 case, UBS and

MLCS shall have received, in cash, Quarterly Payments since January 1, 2014 equal to the

Distribution Amount; and it is further

        14.     ORDERED that, upon full payment by the City to UBS and MLCS of the

Distribution Amount, all liens on the Pledged Property, including without limitation the Liens,

shall be released without any further action or agreement by UBS, MLCS, the Custodian or any

other person; and it is further

        15.     ORDERED that the City shall use best efforts to secure sufficient exit financing

to pay the Net Amount on or promptly following the Effective Date, and failing that, as soon

thereafter as possible; and it is further
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        16.     ORDERED that, if the Net Amount is not paid in connection with the Effective

Date, other than with respect to net proceeds used to repay up to $120 million principal amount

(plus all interest and fees) of the City’s quality-of-life post-petition financing facility [Order to

refer to docket number of motion or order regarding facility], to the extent permitted by law but

without taking into consideration any limitations imposed by the City, including in any ordinance

or resolution of the City, the first dollars of any net cash proceeds of any financing or refinancing

consummated in connection with, or subsequent to, the consummation of the City’s plan of

adjustment and either (i) supported by the full faith and credit of the City or (ii) payable from the

general fund of the City shall be used to pay the Net Amount; and it is further

        17.     ORDERED that no termination, invalidation or avoidance of any Swap

Agreement, Service Contract obligation, lien securing any Service Contract obligation or lien

granted by either of the Service Corporations, disregard or veil piercing of either Service

Corporation, substantive consolidation of either Service Corporation with the City, invalidation

or avoidance of any of the Certificates of Participation or any similar or other event or

circumstance shall affect the allowance, amount, validity or enforceability of the Secured

Claims, the Liens or the Parties’ obligations hereunder or in the Agreement; and it is further

        18.     ORDERED that the provisions and effect of this Order and the Agreement, and

any actions taken by the Parties pursuant to this Order or the Agreement, including, without

limitation, the (i) allowance of the Secured Claims; (ii) payment of the Monthly Payments and

the Quarterly Payments; (iii) payment of the Distribution Amount or the Net Amount and

(iv) release of the Liens, shall not impair the rights of UBS and MLCS to terminate any Swap

Agreement in accordance with the terms and conditions of such Swap Agreement and applicable

law; and it is further
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        19.     ORDERED that UBS and MLCS reserve and retain all rights, claims and

remedies related to the Swap Agreements or the Swap Insurance Policies against any person that

is not a Party, including, without limitation, against either Service Corporation, Syncora

Guarantee Inc., Syncora Capital Assurance Inc. (together with Syncora Guarantee Inc.,

“Syncora”) or Financial Guaranty Insurance Company (together with Syncora, the “Swap

Insurers”); provided that neither UBS nor MLCS will exercise any right, claim or remedy against

a Swap Insurer in connection with the Swap Insurance Policies that results in the Swap Insurer

acquiring an allowed secured claim for reimbursement, or an allowed secured claim by way of

subrogation, against the City; provided further that the provisions of this paragraph shall not

apply with respect to a Service Corporation if such Service Corporation is collapsed into,

disregarded, veil-pierced, substantively consolidated with or similarly treated with respect to the

City; and it is further

        20.     ORDERED that the Service Corporations are hereby barred from commencing

any litigation or taking any other action that the Service Corporations would not have been able

to commence or take if the Service Corporations were a party to the Agreement and obligated to

the same extent as the City under the Agreement, including making or pursuing any Released

Claim; provided that this paragraph shall not apply to any actions taken by the Service

Corporations in respect of Hedge Receivables (as defined in the Service Contracts) that, on or

after the date of entry of this Order, become due and payable to the Service Corporations from

UBS or MLCS pursuant to any Swap Agreement; provided, further that each of UBS and MLCS

shall retain its right to terminate any Swap Agreement in accordance with the terms and

conditions of such Swap Agreement and applicable law; and it is further



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       21.     ORDERED that, as and to the extent set forth in the Agreement, UBS and MLCS

shall vote the Secured Claims in support of, and shall not (in their capacity as holders of the

Secured Claims) object to, a plan of adjustment proposed by the City so long as (i) the rights and

claims of UBS and MLCS are treated in accordance with the Agreement and (ii) UBS and MLCS

are properly solicited by the City after approval of a disclosure statement; and it is further

       22.     ORDERED that the City shall not propose or support a plan of adjustment that

(i) treats the Secured Claims any less favorably than as provided in the Agreement or that

(ii) otherwise has a material adverse effect on UBS or MLCS or any of UBS’s or MLCS’s

affiliates or any of their respective Related Persons (as defined below) with respect to the

Secured Claims, the Swap Agreements, or the Certificates of Participation; provided that the

Agreement and this Order shall be and hereby are independently effective without the necessity

of any plan of adjustment; and it is further

       23.     ORDERED that, unless and until the Agreement is terminated, (i) the City

shall not commence or prosecute any litigation (or directly or indirectly cause either Service

Corporation or any other person to or support either Service Corporation or any other person in

commencing or prosecuting any litigation) against UBS, MLCS or any of their affiliates or any

of their respective (a) officers, (b) directors, (c) employees, (d) members, (e) managers,

(f) partners and (g) attorneys and other advisors (collectively, subclauses (a) through (g),

“Related Persons”), relating to the Swap Agreements, the Secured Claims, the collateral securing

the Secured Claims or the Certificates of Participation and (ii) if either Service Corporation or

any other person commences any such litigation, the City shall cooperate with and support the

defense of the litigation by the UBS or MLCS defendant; provided, however, that the City will

remain able to defend itself against, oppose or dispute any allegations, counterclaims, cross
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claims, defenses or claims for relief propounded by or on behalf of UBS, MLCS or any of their

affiliates or any of their respective Related Persons arising in or relating to the City’s litigation to

invalidate the Certificates of Participation [Adv. Pro. Case No. 14-04112] so long as the City is

not seeking any affirmative recovery from, or otherwise advocating for any affirmative liability

of, UBS, MLCS or any of their affiliates or any of their respective Related Persons; and it is

further

          24.   ORDERED that the Custodian is hereby authorized to rely upon the terms of this

Order and the Agreement, and directed to take any action requested by any of the Parties to

effectuate the transactions contemplated by this Order or the Agreement and no other or further

consents are required; and it is further

          25.   ORDERED that the automatic stay imposed pursuant to section 362 of the

Bankruptcy Code, to the extent it applies, is modified solely to permit UBS and MLCS to

enforce the terms of the Agreement; and it is further

          26.   ORDERED that the City will (i) not commence or prosecute any litigation (or

directly or indirectly cause or support any other person in commencing or prosecuting any

litigation) to challenge any liens on the Pledged Property; (ii) defend the validity, perfection and

priority of such liens against any challenge by any other person and (iii) not cause or permit any

other liens to be senior to or pari passu with such liens until the Net Amount has been paid in

cash in full; and it is further

          27.   ORDERED that the Custodian shall not be liable to any party on account of

actions taken by the City, UBS, MLCS or the Custodian in good faith to effectuate the

transactions contemplated by the Agreement, including, without limitation, the payment of the



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Monthly Payments and Quarterly Payments and the release of the liens on the Pledged Property,

each as provided in the Agreement; and it is further

        28.     ORDERED that, unless otherwise agreed by the Parties, to the extent of any

inconsistency between this Order and the Agreement, on the one hand, and any plan of

adjustment confirmed in this chapter 9 case, on the other hand, the terms of this Order and the

Agreement, as applicable, shall govern; and it is further

        29.     ORDERED that this Order shall be immediately effective and enforceable upon

its entry; and it is further

        30.     ORDERED that the provisions and effect of this Order, any actions taken

pursuant to this Order or the Agreement and the Parties’ respective rights, obligations, remedies

and protections provided for herein and in the Agreement shall survive the dismissal or closing

of this chapter 9 case, or confirmation of a plan or plans of adjustment, and the terms and

provision of this Order and the Agreement shall continue in full force and effect notwithstanding

the entry of any such order; and it is further

        31.     ORDERED that the Agreement and this Order constitute and evidence the valid

and binding obligations of the Parties, which obligations shall be enforceable against each Party

and each of their successors and assigns in accordance with the terms of the Agreement and this

Order; and it is further

        32.     ORDERED that, upon the earlier of the (i) effective date of the Plan and

(ii) satisfaction and discharge of the Secured Claims and the release of the Liens, and without

further action, for good and valuable consideration, the adequacy of which is hereby confirmed,

(a) the City and, if and at any time, any entity, including either Service Corporation, is collapsed

into, disregarded, veil-pierced, substantively consolidated with or similarly treated with respect
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to the City, that entity (collectively, the “City Releasors”), shall release unconditionally, and be

deemed to forever and unconditionally release, waive and discharge UBS and MLCS and their

affiliates and each of their respective present and former Related Persons (collectively, the

“Counterparty Released Parties”) and (b) UBS and MLCS shall release unconditionally, and be

deemed to forever and unconditionally release, waive and discharge the City Releasors and the

City Releasors’ affiliates and each of their respective present and former Related Persons

(excluding, in all cases, to the extent not a City Releasor, the Service Corporations), of and from

any and all claims, obligations, suits, judgments, damages, debts, rights, remedies, causes of

action and liabilities of any nature whatsoever (including, without limitation, all claims relating

to the Swap Agreements, the Certificates of Participation or the Service Corporations) whether

known or unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured,

existing or hereafter arising, in law, equity, or otherwise, that are or may be based in whole or in

part upon any act, omission, transaction, event or other occurrence taking place or existing on or

prior to the effective date of the Plan related to the Swap Agreements, the Certificates of

Participation, the Service Corporations, any and all transactions related to the Swap Agreements,

the Certificates of Participation, the Service Corporations and/or the Funding Trusts, or the

chapter 9 proceedings or the Plan (collectively, the “Released Claims”); provided that the

Released Claims shall not include any claims with respect to enforcement of the Agreement; and

it is further

        33.     ORDERED that neither this Order nor the Agreement shall impair any rights that

UBS, MLCS or any of UBS’s or MLCS’s affiliates may have to intervene in the City’s litigation

to invalidate the Certificates of Participation [Adv. Pro. Case No. 14-04112]; and it is further



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        34.     ORDERED that all persons (the “Barred Persons”) are hereby permanently

barred, enjoined and restrained from commencing, prosecuting, or asserting in this Court, in any

federal or state court, or in any other court, arbitration proceeding, administrative agency, or

other forum in the United States or elsewhere any claim for non-contractual indemnity or

contribution against any Counterparty Released Party, arising out of or relating to or reasonably

flowing from the claims or allegations in any of the Released Claims, whether or not

denominated as for contribution or indemnity, where the injury to the person is the liability of

such person to any Plaintiff (as defined below), whether arising under state, federal or foreign

law as claims, cross-claims, counterclaims, or third-party claims (collectively, the “Barred

Claims”); and if a court or tribunal determines that Barred Claims exist that would have given

rise to liability of any Counterparty Released Party to a Barred Person but for this Order, the

Barred Persons shall be entitled to the judgment reduction provisions set forth in this Order; and

it is further

        35.     ORDERED that in the event that the City or either Service Corporation, or any

person acting on behalf of, or asserting derivative claims of, the City or either Service

Corporation, including any successor to the City or either Service Corporation, including any

trustee, any committee appointed in the Chapter 9 case, any trustee of a litigation trust or any

estate representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy

Code (any of the above, a “Plaintiff”), asserts a claim against any Barred Person based upon,

arising from, or related to the facts, allegations, or transactions underlying any Released Claim

(the “Action”), then, prior to entry of any judgment or arbitration award (“Judgment”) in the

Action, the Plaintiff shall provide notice of this Order to the court or tribunal hearing the Action;

and such court or tribunal shall determine whether the Action gives rise to Barred Claims on
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which Counterparty Released Parties would have been liable to the Barred Persons in the

absence of this Order; and, if the court or tribunal so determines, it shall reduce any Judgment

against such Barred Person in an amount equal to (a) the amount of the Judgment against any

such Barred Person times (b) the aggregate proportionate share of fault (expressed as a

percentage) of the Counterparty Released Party or Parties that would have been liable on a

Barred Claim in the absence of this Order expressed as a percentage of the aggregate fault of

(i) the Barred Person; (ii) such Counterparty Released Party or Parties and (iii) all other persons

determined by such court or tribunal to be liable to the Barred Person in connection with the

Action, whether or not such Persons are sued in such Action; and it is further

        36.     ORDERED that if any Plaintiff enters into a settlement with any person with

respect to one or more causes of action based upon, arising from, or related to the Released

Claims or any transaction underlying any Released Claim, then such Plaintiff shall cause to be

included, and in all events, the settlement shall be deemed to include, a dismissal, release and

waiver of any Barred Claims with respect to such settlement; and it is further

        37.     ORDERED that each Plaintiff is hereby enjoined and restrained from seeking

relief or collecting judgments against any non-settling party in any manner that fails to conform

to the terms of this Order, including, without limitation, the proportionate judgment reduction

provision set forth in this Order; and it is further

        38.     ORDERED that, from January 31, 2014, until termination of the Agreement, all

statutes of limitation on Released Claims and any limitation on the time in which UBS or MLCS

may exercise contractual rights under the Bankruptcy Code “safe harbors” related to the Swap

Agreements shall be tolled; and it is further



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       39.     ORDERED that, notwithstanding anything in this Order or the Agreement to the

contrary but subject to the continued effectiveness of the tolling in the preceding paragraph of

this Order, if, and only if, a Party terminates the Agreement as set forth therein, the Parties will

be restored to their respective positions with respect to all rights, claims, remedies and defenses,

which shall be restored as if the Agreement were never effective, including, without limitation,

the allowance of the Secured Claims and the releases and injunctions set forth herein and in the

Agreement, which shall be nullified; and it is further

       40.     ORDERED that this Court shall retain continuing jurisdiction with respect to all

matters related to or arising from this Order and the Agreement or their implementation,

including, without limitation, hearing a petition for relief by a Barred Person or any other party

in interest in the event that a court or tribunal hearing the Action fails to apply the judgment

reduction provisions of this Order.




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